         Case
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 5                                  UNITED STATES DISTRICT COURT
 6                                          DISTRICT OF NEVADA
 7 UNITED STATES OF AMERICA,                           )
                                                       )
 8                  Plaintiff,                         )
                                                       )
 9          v.                                         ) 2:15-CR-174-KJD-(PAL)
                                                       )
10 MICHAEL JONES,                                      )
   JASON DEMKO,                                        )
11 MICHAEL GUARIGLIA,                                  )
                                                       )
12                  Defendants.                        )
                                                       )
13

14               PROTECTIVE ORDER REGARDING THE $50,018.53 AND THE $8,252.04
15          This Court having read the United States of America’s Motion for a Protective Order regarding the

16 $50,018.53 and the $8,252.04 Pending the Criminal Case, and good cause having been shown,

17          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States of America is

18 authorized to maintain and preserve the $50,018.53 and the $8,252.04 until the conclusion of the instant

19 criminal case, or pending further Order of this Court;
20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that in applying for and obtaining

21 this Order, the United States of America has complied with the requirements of 18 U.S.C. §

22 983(a)(3)(A)-(C) and 21 U.S.C. § 853(e) regarding the preservation of the $50,018.53 and the $8,252.04 for

23 criminal forfeiture.

24          DATED this 10th day of August, 2015.

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                                                                 UNITED STATES MAGISTRATE JUDGE



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